                         Fourth Court of Appeals
                                San Antonio, Texas
                                     JUDGMENT
                                   No. 04-23-00773-CR

                                  Dawud ABDULLAH,
                                      Appellant

                                            v.

                                  The STATE of Texas,
                                        Appellee

              From the 156th Judicial District Court, McMullen County, Texas
                            Trial Court No. M-22-0022-CR-B
                        Honorable Walden Shelton, Judge Presiding

      BEFORE JUSTICE CHAPA, JUSTICE WATKINS, AND JUSTICE RODRIGUEZ

       In accordance with this court’s opinion of this date, the trial court’s judgment is
REFORMED to conform with the jury’s verdict convicting appellant Dawud Abdullah under
Texas Penal Code section 20.05. The judgment of the trial court is AFFIRMED AS MODIFIED.

      SIGNED August 14, 2024.


                                             _____________________________
                                             Beth Watkins, Justice
